            Case 2:15-cr-00120-JCC          Document 207         Filed 04/29/15    Page 1 of 3




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   UNITED STATES OF AMERICA,

 9                                 Plaintiff,             CASE NO. CR15-120-JCC

10          v.
                                                          DETENTION ORDER
11   TUAN A. VU,

12                                 Defendant.

13

14   Offense charged:      Conspiracy to Distribute Controlled Substances

15   Date of Detention Hearing:    April 29, 2015.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17   based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18   that no condition or combination of conditions which defendant can meet will reasonably assure

19   the appearance of defendant as required and the safety of other persons and the community.

20           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense, the maximum penalty of which

22   is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

23   dangerousness and flight risk, under 18 U.S.C. § 3142(e).

     DETENTION ORDER
     PAGE - 1
              Case 2:15-cr-00120-JCC         Document 207       Filed 04/29/15      Page 2 of 3




 1            2.      Defendant’s criminal record includes a number of VUCSA and controlled

 2   substances cases. In this case, he faces a ten year mandatory minimum. He has frequent travel

 3   to Vietnam, staying a month or longer each time. The government alleges he is one of the

 4   leaders of the drug conspiracy charged in the indictment, and claims that defendant attempted to

 5   flee at the time of arrest. Defendant disputes this. A considerable quantity of drugs and cash

 6   was found in his residence at the time of search. The government alleges this defendant attempt

 7   to solicit a CI to assault another individual involved in the conspiracy. He has a history of recent

 8   drug use and lack a stable residence.

 9            3.      Taken as a whole, the record does not effectively rebut the presumption that no

10   condition or combination of conditions will reasonably assure the appearance of the defendant as

11   required and the safety of the community.

12   It is therefore ORDERED:

13         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14            General for confinement in a correction facility separate, to the extent practicable, from

15            persons awaiting or serving sentences or being held in custody pending appeal;

16         2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

17         3. On order of the United States or on request of an attorney for the Government, the person

18            in charge of the corrections facility in which defendant is confined shall deliver the

19            defendant to a United States Marshal for the purpose of an appearance in connection with

20            a court proceeding; and

21   ///

22   ///

23   ///

     DETENTION ORDER
     PAGE - 2
          Case 2:15-cr-00120-JCC          Document 207        Filed 04/29/15     Page 3 of 3




 1     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

 2        the defendant, to the United States Marshal, and to the United State Pretrial Services

 3        Officer.

 4        DATED this 29th day of April, 2015.

 5

 6                                                      A
                                                        Mary Alice Theiler
 7                                                      United States Magistrate Judge

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

     DETENTION ORDER
     PAGE - 3
